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Fwd: Requests Gamrat et a|.

David [dhorr85097@ao|.com]
Sent: Friday, October 26, 2018 8:42 AM
To: Horr, Dave (PH)

Sent from my iPhone
Begin forwarded message:

From: David <dhorr85097 aol.com>
Date: October 1, 2018 at 11:30:01 AM EDT
To: David Horr <Dave.horr domtar.com>
Subject: Fwd: Requests Gamrat et al.

Sent from my iPhone
Begin forwarded message:

From: Tyler Osbum <tosbum schenkboncher.com>
Date: September 17, 2018 at 4:04:23 PM EDT

To: David <dhorr85097 aol.com>

Subject: RE: Requests Gamrat et al.

David,

I apologize for the delay in getting back with you. I will treat your email from
last week as a request for the production of documents and an interrogatory
directed to my client. We will respond in the time set forth in Rules 33 and 34,
which give us 30 days to answer your requests.

Tyler E. Osburn

Attomey

Schenk Boncher & Rypma
601 Three Mile Rd. NW
Grand Rapids, MI 49544
Phone: (616) 647-8277
Fax: (616) 647-0958
www.schenkboncher.com

----- Original Message-----

From: David |mailto:dhorr85097@aol.com]
Sent: Monday, September 10, 2018 9:07 AM

To: Tyler Osburn
Subject: Requests Gamrat et al.

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Per the joint status and following the judges request that we are cordial with
regard to information gathering and sharing, I’d like to request several things.
In the spirit of being accommodating and not having to file for these I hope
you’re willing to provide them.

l. All of your clients (Cindy Gamrat’s) cell phone records (texts, calls, all
inclusive) from January l, 2015 through October l, 2015 in their entirety.

2. The specificity or reason you obtained my cell phone records as well as the
method used to do so. Copies of those if you have them.

I appreciate your help. Hopefully you can assist with the requests. Please let me
know one way or the other before I proceed. Thanks Tyler.

Respectfully,
David

Sent from my iPhone

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Federal tax penalties

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Fwd: Requests Gamrat et a|.

David [dhorr85097@ao|.com]
Sent: Friday, October 26, 2018 8:43 AM
To: Horr, Dave (PH)

Sent from my iPhone
Begin forwarded message:

From: David <dhorr85097 aol.com>

Date: October 18, 2018 at 7:32:56 PM EDT

To: Tyler Osbum <tosbum schenkboncher.com>
Subject: Re: Requests Gamrat et al.

It’s been 38 days since my request and 31 days since your reply. I’ve received no response
as of today. Your 30 days has elapsed per Rule 33 and 34. I am attaching a letter dated
October 10, 2018. That letter was also mailed on October 17, 2018 via US Mail and
potentially certified. I’m not certain which. That’s the 30-day mark and has several more
requests on it. Per the joint status, November 9th is the last day for discovery items. I look
forward to hearing from you.

Sincerely,

David K. Horr

<gps.docx>

Sent from my iPhone
On Sep 17, 2018, at 4:04 PM, Tyler Osbum <tosbum schenkboncher.com>
wrote:

David,

I apologize for the delay in getting back with you. I will treat your email from
last week as a request for the production of documents and an interrogatory
directed to my client. We will respond in the time set forth in Rules 33 and 34,
which give us 30 days to answer your requests.

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Tyler E. Osburn

Attomey

Schenk Boncher & Rypma
601 Three Mile Rd. NW
Grand Rapids, MI 49544
Phone: (616) 647-8277
Fax: (616) 647-0958

www.schenkboncher.corn

----- Original Message-----

From: David [mailto:dhorr85097@aol.com]
Sent: Monday, September 10, 2018 9:07 AM
To: Tyler Osbum

Subject: Requests Gamrat et al.

Per the joint status and following the judges request that we are cordial with
regard to information gathering and sharing, I’d like to request several things.
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1. All of your clients (Cindy Gamrat’s) cell phone records (texts, calls, all
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2. The specificity or reason you obtained my cell phone records as well as the
method used to do so. Copies of those if you have them.

I appreciate your help. Hopefully you can assist with the requests. Please let me
know one way or the other before I proceed. Thanks Tyler.

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Respectfully,

David

Sent from my iPhone

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Fwd: Automatic reply: Requests Gamrat et a|.

David [dhorr85097@ao|.com]
Sent: Friday, October 26, 2018 8:46 AM
To: Horr, Dave (PH)

Sent from my iPhone
Begin forwarded message:

From: Tyler Osburn <tosburn schenkboncher.com>
Date: October 18, 2018 at 7:33:09 PM EDT

To: David <dhorr85097 aol.com>

Subject: Automatic reply: Requests Gamrat et al.

I will be out of the office beginning on Wednesday, October 10, 2018, and I Will be
returning on Tuesday, October 23, 2018, I will do my best to return emails and
phone calls as I arn able, but if you have an urgent matter please contact Darcy
Hager at (616) 647-8277 or via email at dhager@schenkboncher.com. Thank
you.

Tyler E. Osburn

Attorney

Schenk Boncher & Rypma
601 Three Mile Rd. NW
Grand Rapids, MI 49544
Phone: (616) 647-8277
Fax: (616) 647-0958
www.schenkboncher.com

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To: Tyler Osburn, Schenk Boncher & Rypma

cc: DDHorr fi|e, DJHorr atty. fi|e, KStout atty. file
re: Case No. 1:16-cv-01094-GLQ-PJG

Date: October 30, 2018

This will serve as my final request that your client has 30 days to give me
answers to my interrogatory requests. It’s been 49 days since my initial
request, that you acknowledged that you received and would answer within
30 days (see your enclosed emai|).

I can and will request a dismissal of the case or a final judgment if your
client does not provide me answers and documents to my requests.

I am enclosing multiple emails with regard to items I’ve requested as part of
discovery to include your email response dated September 17, 2018 that
states “you wi|I treat your email from last week (initiai email sent September
10, 2018 by me requesting documents also enclosed) as a request for the
production of documents and an interrogatory directed to my client. We will
respond in the time set forth in Rules 33 and 34, which give us 30 days to
answer your requests”. That 30-day window was October 11, 2018. I’ve
received no such answers or documents.

A|so enclosed is my second request as part of discovery, emai|ed and sent
via US Mail (first class) on October 18, 2018, 38 days after my initial request
that you have yet to provide. In response to my second request, I received
an automated email (enc|osed) stating you’d be out of the office beginning
October 10, 2018 and be returning on Tuesday, October 23, 2018.

As of this |etter, I have yet to receive any answers or documents I requested
on September 10, 2018 and have yet to receive any acknowledgment from
you on my second set of requests other than your automated email response
dated October 18, 2018.

As part of the joint status requirements, your client is not being very
forthcoming with the sharing of information or requests as they pertain to
this case.

 

David K. Horr

CaSe 1216-CV-01094-P.]G ECF NO. 115-1 filed 11/01/18 PagelD.l797 Page 9 Of 10

To: Tyler E. Osburn, Schenk Boncher & Rypma
cc: DDHorr file, DJHorr atty. file, KStout atty. file
Re: Case No. 1:16-cv-OlO94-GLQ-PJG

Date: October 10, 2018

Per the joint status report, dated and filed May 7, 2018 in US District Court Western District of Michigan,
Southern Division, l am now mailing you several additional requests as part of discovery, l had previously
emai|ed you several requests on September 10, 2018 (l have enclosed that email with your response,
stating you have 30 days, thank you). As of this letter (l also sent this letter via email to you on October
10, 2018), l have not received your answers or information to those initial requests. ln addition to those
initial requests, l have several more.

The successful FOlA request, barring exemptions of course and/or the subpoena used to obtain my cell
phone records

A complete list of your clients (Cindy Gamrat’s) text messages between her and the burner phone xxx-
xxx-xxxx, all her text messages between her and Todd Courser to include all deleted text messages on all
her devices to include social media mediums (Facebook, |nstagram, Snapchat, Facebook Messenger,
etc.) from January 1, 2015 and December 31, 2015

A list of all cell phones numbers used by your client from January 1, 2015 through December 31, 2015

Any and all correspondence between your client and Brickhouse security and all other GPS tracking
providers and/or services your client may have used

Comp|ete list of GPS tracking devices used to electronically surveil and/or electronically track Joe
Gamrat and anyone else that were provided to your client as well as who provided those devices

All correspondence between those parties regarding the GPS devices placed on Joe Gamrats vehicle

A list of all individuals that were electronically tracked by your client utilizing GPS devices or any other
electronic or other means

Dates and times GPS tracking devices placed on Joe Gamrats vehicle as well as any other vehicles went
”|ive" or ”active/on|ine" to begin tracking and those reports in their entirety

A list of all tracking devices, software, memberships or websites utilized to track Joe Gamrat using those
GPS devices and the names that those accounts were registered under (fami|y, sisters, etc.) as well as
the lP addresses of the devices used to track him

Person or persons involved other than your client, known by your client who placed GPS devices under
or in any vehicle and the dates those devices were placed

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A list of all aliases used by your client to book and/or check-in to hotel rooms and the dates those names
were used to check into hotels

Dates your client is available to be deposed

Hopefully this will indeed prove fruitful as l'll need this information to work on my successful defense.
Per the joint status, the judge asked that we share information and are open in that regard ”in the
interest of conserving judicial resources, the parties acknowledge that the court will require the parties
to participate in some form of alternative dispute resolution", as well as ”counsel or pro se parties
involved in the dispute shall confer in a good-faith to resolve the dispute".

You have answered one email with regard to possible dismissal thank you (also enclosed). l am not
certain what settlement amount your client seeks because you have not initiated settlement talks yet.
You made it clear that your client wasn’t interested in settling unless it's ”a significant settlement
amount”. To be clear, she'l| entertain settlement discussions, lF it's significant?

l appreciate your time. Hopefully you can get the information |'ve requested together expeditiously.

Respectful ,

/V`

David K. Horr

